           Case 3:21-cv-03496-VC Document 115 Filed 02/17/23 Page 1 of 6




KATHRYN E. CAHOY (SBN 298777)
Email: kcahoy@cov.com
COVINGTON & BURLING LLP
3000 El Camino Real
5 Palo Alto Square, 10th Floor
Palo Alto, CA 94306-2112
Telephone: + 1 (650) 632-4700
Facsimile: + 1 (650) 632-4800

Attorneys for Defendants
Intuitive Surgical, Inc.

[Additional counsel listed on the signature page]



                                   UNITED STATES DISTRICT COURT

                         FOR THE NORTHERN DISTRICT OF CALIFORNIA


  IN RE: DA VINCI SURGICAL ROBOT                                     Lead Case No.: 3:21-cv-03825-VC
  ANTITRUST LITIGATION


  THIS DOCUMENT RELATES TO:
                                                                     Judge: The Honorable Vince Chhabria
  ALL ACTIONS


  SURGICAL INSTRUMENT SERVICE                                        Case No. 3:21-cv-03496-VC
  COMPANY, INC.,
                                     Plaintiff,
          vs.
                                                                     Judge: The Honorable Vince Chhabria

  INTUITIVE SURGICAL, INC.,

          Defendant.

           JOINT STIPULATION AND [PROPOSED] ORDER TO MODIFY SUMMARY
                        JUDGMENT BRIEFING SCHEDULE




 Joint Stipulation and [Proposed] Order to Modify Summary Judgment                Case No. 3:21-cv-03825-VC
 Briefing Schedule                                                                Case No. 3:21-cv-03496-VC
              Case 3:21-cv-03496-VC Document 115 Filed 02/17/23 Page 2 of 6




           WHEREAS, the Court entered a case schedule for the above-captioned actions on August

23, 2021, and a modified case schedule on April 14, 2022, which, among other deadlines,

requires motions for summary judgment to be filed by March 23, 2023, oppositions thereto filed

by April 20, 2023, and replies by May 11, 2023. See ECF 90 in 3:21-cv-03496;

           WHEREAS, the named plaintiffs in In re: da Vinci Surgical Antitrust Litigation and

Surgical Instrument Service Company, Inc. (collectively, “Plaintiffs”) have indicated that they

intend to file motions for summary judgment in their respective cases;

           WHEREAS, Intuitive intends to file motions for summary judgment in both cases;

           WHEREAS, in the event of cross-motions for summary judgment, paragraph 44 of the

Court’s Standing Order for Civil Cases requires the parties to file a total of four briefs

sequentially and complete all briefing no later than 14 days before the June 8 hearing before the

Court on the motions for summary judgment;

           WHEREAS, Plaintiffs and Intuitive have agreed, subject to the Court’s approval, to the

following briefing schedule for motions for summary judgment:

                           Event                                         Proposed Date 1
      Plaintiffs’ Opening Summary Judgment Briefs                        March 23, 2023
         Defendant’s Opening/Opposition Briefs                            April 13, 2023
            Plaintiffs’ Opposition/Reply Briefs                            May 4, 2023
                  Defendant’s Reply Brief                                 May 25, 2023


           WHEREAS, the parties have further agreed that, in the event Plaintiffs elect not to move

for summary judgment, Defendant’s Opening briefs on its motions shall still be due April 13,

2023, and the Opposition and Reply briefs shall be due on the dates set forth above.




1
 These dates do not extend the Court’s April 14, 2022 modified case schedule order (Doc No.
88). In fact, the latter 3 entries shorten the existing briefing schedule.
    Joint Stipulation and [Proposed] Order to Modify Summary Judgement       Case No. 3:21-cv-03825-VC
    Briefing Schedule                                                        Case No. 3:21-cv-03496-VC
           Case 3:21-cv-03496-VC Document 115 Filed 02/17/23 Page 3 of 6




        WHEREAS, the schedule for Daubert motions will not be affected by the requested

change to the briefing schedule, with such motions filed and briefed on the existing schedule:

March 23, 2023 for motions, April 20, 2023 for oppositions, and May 11, 2023 for replies. See

ECF 90 in 3:21-cv-03496;

        NOW THEREFORE, Plaintiffs and Intuitive respectfully request that the Court enter the

proposed briefing schedule set forth in the attached Proposed Order,.

     DATED: February 16, 2023                                    COVINGTON & BURLING LLP


     By: /s/ Jeffrey Corrigan                                    By: /s/ Kathryn E. Cahoy
                                                                    Kathryn E. Cahoy

     Jeffrey J. Corrigan (pro hac vice)                          SONYA WINNER (SBN 200348)
     Jeffrey L. Spector (pro hac vice)                           Email: swinner@cov.com
     Icee N. Etheridge (pro hac vice)                            ISAAC D. CHAPUT (SBN 326923)
     SPECTOR ROSEMAN &                                           Email: ichaput@cov.com
     KODROFF, P.C.                                               COVINGTON & BURLING LLP
     2001 Market Street, Suite 3420                              Salesforce Tower
     Philadelphia, PA 19103                                      415 Mission Street, Suite 5400
     Tel: 215-496-0300                                           San Francisco, California 94105-2533
     Fax: 215-496-6611                                           Telephone: + 1 (415) 591-6000
     Email: jcorrigan@srkattorneys.com                           Facsimile: + 1 (415) 591-6091
     jspector@srkattorneys.com
     ietheridge@srkattorneys.com                                 KATHRYN CAHOY (SBN 298777)
                                                                 Email: kcahoy@cov.com
     Gary I. Smith, Jr. (SBN 344865)                             COVINGTON & BURLING LLP
     Samuel Maida (SBN 333835)                                   3000 El Camino Real
     HAUSFELD LLP                                                5 Palo Alto Square, 10th Floor
     600 Montgomery Street, Suite                                Palo Alto, CA 94306-2112
     3200 San Francisco, CA 94111                                Telephone: + 1 (650) 632-4700
     Tel: 415-633-1908                                           Facsimile: + 1 (650) 632-4800
     Fax: 415-358-4980
     Email: gsmith@hausfeld.com                                  ANDREW LAZEROW (Pro Hac Vice)
     smaida@hausfeld.com                                         Email: alazerow@cov.com
                                                                 ASHLEY E. BASS (Pro Hac Vice)
     Benjamin D. Brown (SBN 202545)                              Email: abass@cov.com
     Daniel McCuaig (pro hac vice)                               COVINGTON & BURLING LLP
     COHEN MILSTEIN SELLERS &                                    One City Center 850 Tenth Street NW
     TOLL PLLC                                                   Washington DC 20001-4956
     1100 New York Ave., Suite 500                               Telephone: + 1 (202) 662-6000

 Joint Stipulation and [Proposed] Order to Modify Summary Judgement               Case No. 3:21-cv-03825-VC
 Briefing Schedule                                                                Case No. 3:21-cv-03496-VC
          Case 3:21-cv-03496-VC Document 115 Filed 02/17/23 Page 4 of 6




    Washington, DC 20005                                        Facsimile: + 1 (202) 662-6291
    Tel: 202-408-4600
    Fax: 202-408-4699                                           ALLEN RUBY (SBN 47109)
    Email: bbrown@cohenmilstein.com                             allen@allenruby.com
    dmccuaig@cohenmilstein.com                                  ALLEN RUBY, ATTORNEY AT LAW
                                                                15559 Union Ave. #138
    Brent W. Landau (pro hac vice)                              Los Gatos, CA 95032
    HAUSFELD LLP                                                Tel: (408) 477-9690
    325 Chestnut Street, Suite 900
    Philadelphia, PA 19106                                      KAREN HOFFMAN LENT (Pro Hac
    Tel: 215-985-3270                                           Vice)
    Fax: 215-985-3271                                           Email: karen.lent@skadden.com
    Email: blandau@hausfeld.com                                 MICHAEL H. MENITOVE (Pro Hac
                                                                Vice)
    Manuel J. Dominguez (pro hac vice)                          Email: michael.menitove@skadden.com
    COHEN MILSTEIN SELLERS &                                    SKADDEN, ARPS, SLATE,
    TOLL PLLC                                                   MEAGHER & FLOM LLP
    11780 U.S. Highway One, Suite N500                          One Manhattan West
    Palm Beach Gardens, FL 33408                                New York, NY 10001
    Tel: 561-515-2604                                           Telephone: (212) 735-3000
    Fax: 561-515-1401                                           Facsimile: (212) 735-2040
    Email: jdominguez@cohenmilstein.com
                                                                Attorneys for Defendant Intuitive Surgical
    Christopher J. Bateman (pro hac vice)                       Inc.
    COHEN MILSTEIN SELLERS & TOLL
    PLLC
    88 Pine Street, 14th Floor
    New York, NY 10005
    Tel: 212-838-7797
    Fax: 212-838-7745
    Email: cbateman@cohenmilstein.com

    Michael J. Boni
    Joshua D. Snyder (pro hac vice)
    John E. Sindoni (pro hac vice)
    BONI, ZACK & SNYDER LLC
    15 St. Asaphs Road
    Bala Cynwyd, PA 19004
    Tel: 610-822-0200
    Fax: 610-822-0206
    Email: mboni@bonizack.com
    jsnyder@bonizack.com
    jsindoni@bonizack.com

    Counsel for the Proposed Class


Joint Stipulation and [Proposed] Order to Modify Summary Judgement                Case No. 3:21-cv-03825-VC
Briefing Schedule                                                                 Case No. 3:21-cv-03496-VC
          Case 3:21-cv-03496-VC Document 115 Filed 02/17/23 Page 5 of 6



    By: /s/ Joshua V. Van Hoven

    JOSHUA V. VAN HOVEN
    joshua.vanhoven@hglaw.com
    GREGORY J. LUNDELL
    greg.lundell@hglaw.com
    111 N Market Street, Suite 900
    San Jose, California 95113

    RICHARD T. MCCAULLEY (pro hac vice)
    richard.mccaulley@hglaw.com
    116 W. Hubbard, Unit 20
    Chicago, IL 60654

    Attorneys for Plaintiff Surgical Instrument
    Service Company, Inc.




Joint Stipulation and [Proposed] Order to Modify Summary Judgement   Case No. 3:21-cv-03825-VC
Briefing Schedule                                                    Case No. 3:21-cv-03496-VC
Case 3:21-cv-03496-VC Document 115 Filed 02/17/23 Page 6 of 6
